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                      UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT CHARLESTON

MARVIN BAILEY,

            Movant

v.                                            CIVIL ACTION NO. 2:00-0156
                                              (Criminal No. 2:96-00191-03)

UNITED STATES OF AMERICA,

            Respondent


                      MEMORANDUM OPINION AND ORDER


            Pending are the movant’s motions (1) for relief from

judgment pursuant to Rule 60(b)(6), filed December 19, 2005, and

(2) to deem the foregoing motion unopposed, filed March 23, 2006.


            Movant seeks relief from a judgment order entered on

January 23, 2001, denying his May 16, 2001, amended motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. §

2255.   The court received the proposed findings and

recommendation of the United States Magistrate Judge filed on

April 26, 2006, pursuant to the provisions of 28 U.S.C. §

636(b)(1)(B).     On May 15, 2006, movant objected.


            The proposed findings and recommendation set forth in

great detail the factual and procedural history surrounding this

case, in addition to the movant’s successive, and unsuccessful,
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efforts to secure the vacatur of his conviction and sentence.

The court revisits the magistrate judge’s discussion only to the

extent necessary to resolve the objections.


            The movant lodges two primary objections.             First, he

challenges the magistrate judge’s finding that the state trooper

in question “brought the extra-judicial contact to the attention

of the trial judge and the parties during the trial.”               (PF&R at

9).    Assuming the magistrate judge erred in that regard, however,

it was harmless.      The identity of the reporter of the contact is

of little moment.      Instead, the inquiry is focused upon

determining “the circumstances [of the contact], the impact

thereof upon the juror, and whether or not it was prejudicial . .

. .”     Remmer v. United States, 347 U.S. 227, 229-30 (1954)

(emphasis supplied).


            Second, the movant contends the state trooper should

have been examined by the court and counsel regarding the juror

contact.    Again, however, consistent with Remmer, “the salient

issue is whether the contact had any undue influence on the

jurors’ decision in the case.”         (PF&R at 9).      As noted in the

proposed findings and recommendation, the presiding district

judge conducted a thorough colloquy with each affected juror

separately.    The testimony given by each was wholly consistent

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among the three concerning the innocuous nature of the contact.

There was simply no indication of any prejudice redounding to the

movant’s detriment.


            Based upon the foregoing, and assuming the movant’s

claims are not procedurally barred, they are factually and

legally meritless.      The court, accordingly, ORDERS that the

movant’s motion for relief from judgment pursuant to Rule

60(b)(6) be, and it hereby is, denied.             Inasmuch as the

magistrate judge did not order the government to respond to the

movant’s motion, it is additionally ordered that the movant’s

motion to deem his foregoing motion as unopposed be, and it

hereby is, denied.      The court further orders that this action be,

and it hereby is, dismissed and stricken from the docket.


            The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

United States Magistrate Judge.


                                           ENTER: May 19, 2006



                                           John T. Copenhaver, Jr.
                                           United States District Judge




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